                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


ALASKA INDUSTRIAL
DEVELOPMENT AND EXPORT
AUTHORITY, et al.,

               Plaintiffs,

       and                                   Case No. 3:21-cv-00245-SLG

STATE OF ALASKA,

               Intervenor-Plaintiff,

       v.

JOSEPH R. BIDEN, JR., in his official
capacity as President of the United
States, et al.,

               Defendants,

       and

NATIVE VILLAGE OF VENETIE
TRIBAL GOVERNMENT, et al.,

               Intervenor-Defendants.


                         JUDGMENT IN A CIVIL ACTION

☐ JURY VERDICT. This action came before the court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

☒ DECISION BY COURT. This action came to trial or decision before the Court. The
issues have been tried or determined and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED:

      THAT all claims against Federal Defendants are dismissed with prejudice.




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APPROVED:

s/Sharon L. Gleason
Sharon L. Gleason
United States District Judge
                                                              Brian D. Karth
Date: August 7, 2023                                          Brian D. Karth
                                                               Clerk of Court


Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.




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